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                     5 Attorneys to Robbin L. Itkin, Chapter 7 Trustee                  CLERK U.S. BANKRUPTCY COURT
                                                                                        Central District of California
                                                                                        BY handy      DEPUTY CLERK
                     6

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                                                                                 CHANGES MADE BY COURT
                     8                                 UNITED STATES BANKRUPTCY COURT
                                                        CENTRAL DISTRICT OF CALIFORNIA
                     9                                        NORTHERN DIVISION

                    10 In re                                               Case No. 9:17-bk-12045-DS

                    11 BIKRAM’S YOGA COLLEGE OF INDIA,                     Chapter 7
                       LP,
                    12                                                     Jointly Administered with:
                                 Debtor.                                   9:17-bk-12046-DS
                    13 In re                                               9:17-bk-12047-DS
                                                                           9:17-bk-12048-DS
                    14 BIKRAM CHOUDHURY YOGA, INC.,                        9:17-bk-12049-DS

                    15                      Debtor.                        ORDER GRANTING MOTION OF THE
                                                                           TRUSTEE FOR AN ORDER APPROVING
                    16 In re                                               THE AGREEMENT WITH MINAKSHI
                                                                           JAFA-BODDEN FOR DISTRIBUTION OF
                    17 BIKRAM, INC.,                                       PROCEEDS FROM SALE OF VARIOUS
                                                                           ASSETS OF THE ESTATES AND
                    18                      Debtor.                        REGARDING TREATMENT OF CLAIM
                         In re
                    19
                         YUZ, INC.,                                        Hearing:
                    20                                                     Date: November 30, 2021
                                            Debtor.                        Time: 11:30 a.m.
                    21 In re                                               Place: Courtroom 201
                                                                                  1415 State Street
                    22 INTERNATIONAL TRADING                                      Santa Barbara, CA 93101
                       REPRESENTATIVE, LLC,                                       (via Zoom for Government)
                    23
                                   Debtor.
                    24
                       ☒    Affects All Debtors
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SKLAR KIRSH, LLP
ATTORNEYS AT LAW
                         4892-6846-6437.1
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                     1            A continued hearing was held at the above time and place on the “Motion of Chapter 7

                     2 Trustee for an Order Approving the Agreement with Minakshi Jafa-Bodden for Distribution of

                     3 Proceeds from Sale of Various Assets of the Estates and Regarding Treatment of Claim” (the

                     4 “Motion,” Docket No. 531), filed by chapter 7 trustee Robbin L. Itkin (the “Trustee”).

                     5 Appearances were noted on the record. Based on the Motion, the record in these cases, and the

                     6 arguments presented at the hearings on the Motion, and good cause appearing,

                     7            IT IS HEREBY ORDERED that the Motion is granted as follows:

                     8            1.        The Distribution Agreement,1 attached to the Itkin Declaration as Exhibit A, as

                     9 amended by the “First Amendment to the Distribution Agreement,” attached to the Supplemental

                    10 Declaration as Exhibit D (the “Amendment”), is approved.

                    11            2.        The Trustee is authorized to enter into, execute any documents and take all actions

                    12 that are necessary or appropriate to consummate, and enforce the terms of the Distribution

                    13 Agreement and the Amendment.

                    14            3.        The Distribution Agreement are effective only as to the Assets sold by the Trustee

                    15 to a successful buyer in the exercise of her business judgment and in the interests of the Estates

                    16 and their creditors.

                    17            4.        Ms. Bodden’s claim, filed as Proof of Claim 6-2, will be reduced dollar for dollar

                    18 in the amount of: (i) funds received pursuant to the Distribution Agreement and the contemplated

                    19 transactions; and (ii) all prior disbursements to Ms. Bodden and her counsel pursuant to all prior

                    20 agreements between the Trustee and Ms. Bodden.

                    21            5.        The disbursement of proceeds due to Ms. Bodden under the Distribution

                    22 Agreement will be in final satisfaction of Ms. Bodden’s secured claims against the Estates, and

                    23 distributions to the Estates pursuant to the Distribution Agreement will be free and clear of Ms.

                    24 Bodden’s secured claims and interests.

                    25

                    26   1
                        Capitalized terms not defined in this order have the meanings defined in the Motion and in the
                       “Supplemental Declaration of Robbin L. Itkin, Chapter 7 Trustee, in Support of Motion for an
                    27 Order Approving the Agreement with Minakshi Jafa Bodden for Distribution of Proceeds from

                    28 Sale of Various Assets of the Estates and Regarding Treatment of Claim” (the “Supplemental
                       Declaration,” Docket No. 547)
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                     1            6.        Ms. Bodden will have an allowed general unsecured claim for the balance of her

                     2 claim after deduction of all proceeds received pursuant to the Distribution Agreement as set forth

                     3 above.

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                    24 Date: December 7, 2021

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